  3:23-cv-00795-CMC        Date Filed 06/27/23      Entry Number 42-1      Page 1 of 13




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
                              COLUMBIA DIVISION

SOUTH CAROLINA FREEDOM CAUCUS,
            Plaintiff,                              Civil Action No. 3:23-cv-00795-CMC
       v.
WALLACE H. JORDAN, JR., J. DAVID WEEKS,             MEMORANDUM OF LAW IN
BETH E. BERNSTEIN, PAULA RAWL CALHOON,              SUPPORT OF MOTION FOR
MICAJAH P. CASKEY, IV, NEAL A. COLLINS,             ATTORNEY’S FEES AND
JOHN RICHARD C. KING, ROBBY ROBBINS, J.             EXPENSES
TODD RUTHERFORD, AND LEONIDAS E.
STAVRINAKIS, in their official capacities as
members of the HOUSE OF REPRESENTATIVES
LEGISLATIVE ETHICS COMMITTEE,
              Defendants.


Gene P. Hamilton (pro hac vice)                Christopher Mills (Fed. Bar No. 13432)
Reed D. Rubinstein (pro hac vice)              SPERO LAW LLC
AMERICA FIRST LEGAL FOUNDATION                 557 East Bay St. #22251
611 Pennsylvania Ave. S.E. #231                Charleston, SC 29413
Washington, DC 20003                           Tel: (843) 606-0640
Tel: (202) 964-3721                            cmills@spero.law
reed.rubinstein@aflegal.org

                                    Counsel for Plaintiff
        3:23-cv-00795-CMC                    Date Filed 06/27/23                  Entry Number 42-1                    Page 2 of 13




                                                     TABLE OF CONTENTS

Background ..................................................................................................................................... 1
Legal Standard ................................................................................................................................ 3
Argument ........................................................................................................................................ 4
   I.    The Plaintiff is the prevailing party. ..................................................................................... 4
   II. The Plaintiff seeks reasonable fees and costs. ...................................................................... 5
          A. The Plaintiff’s fee request is based on reasonable hours and rates. ............................. 5
          B. The Plaintiff’s expense request is reasonable. ............................................................ 10
Conclusion .................................................................................................................................... 11
    3:23-cv-00795-CMC           Date Filed 06/27/23      Entry Number 42-1        Page 3 of 13




          As the prevailing party, the Plaintiff seeks recovery of its reasonable attorney’s fees and

expenses under 42 U.S.C. § 1988(b).

                                          BACKGROUND

          As this Court’s summary judgment order explained, “Plaintiff South Carolina Freedom

Caucus is a legislative special interest caucus comprised of members of the South Carolina House

of Representatives.” ECF No. 40 (“SJ Order”), at 2. “The stated mission of the Caucus is to

promote conservative principles like the rule of law and equal protection for all citizens.” Id. “As

a legislative special interest caucus, the Caucus is subject to certain speech limitations as well as

limitations on donations, solicitations, accepting gifts, and expenses.” Id. Alleging that these

limitations violated the First and Fourteenth Amendments, the Plaintiff sued, “seek[ing] a

declaratory judgment that South Carolina’s statutes restricting legislative special interest caucuses

violate the United States Constitution” and “to permanently enjoin the House Ethics Committee

from enforcing challenged provisions of S.C. Code Ann. §§ 2-17-10(21), 8-13-1333(C), and 2-17-

110(J).” Id.

          About two weeks later, the Plaintiff moved for summary judgment. ECF No. 17. The

Defendants responded, “arguing the summary judgment motion should be stayed pending

discovery.” SJ Order 1; see ECF No. 18. The Plaintiff replied, ECF No. 19, and then the parties

filed supplemental papers on the merits of the Plaintiff’s summary judgment motion, ECF Nos.

29, 33.

          After a hearing, the Court granted summary judgment for the Plaintiff. On the Defendants’

request for discovery, the Court held that “[n]one of the items on which Defendants seek discovery

bears on the constitutionality of the challenged statutes, but instead Defendants seek to wade into

the weeds of Plaintiff’s formation and operation.” SJ Order 13. Noting that “Defendants’ argument
    3:23-cv-00795-CMC           Date Filed 06/27/23        Entry Number 42-1         Page 4 of 13




for discovery is primarily focused on standing,” the Court found that “discovery is unnecessary to

determine whether Plaintiff has standing to bring this constitutional challenge to the Ethics Act’s

treatment of special interest caucuses”: “Plaintiff has shown it would engage in conduct protected

by the First Amendment but also proscribed by the provisions of the Ethics Act it is challenging,

and that there is a ‘credible threat’ that the Ethics Act will be enforced against it if it does so.” Id.

at 13, 17. Citing Fourth Circuit decisions, the Court said that “[b]inding precedent confers standing

on one whose speech is facially restricted by the government.” Id. at 17–18.

        On the merits, the Court ruled for the Plaintiff on each of the three counts in its complaint.

First, the Court held that strict scrutiny applies under the First Amendment’s Free Speech Clause

to South Carolina’s ban on the Plaintiff’s election-related speech, and that the ban cannot satisfy

such scrutiny: “Whatever interests the State may have in preventing corruption or providing

disclosure are evidently addressed by the legal regime that applies to legislative caucuses” formed

around party, race, or gender. Id. at 25; see id. at 18–27. Second, the Court held that the law’s

complete disclosure requirement for special interest caucuses failed exacting scrutiny: “as above,”

the Defendants “make no attempt to explain the difference between the requirements for the

different types of caucuses (legislative vs. special interest) and why transparency and the

possibility of corruption require all donations for special interest caucuses to be reported while

only those over $100 per quarter for legislative caucuses must be.” Id. at 29. Third, the Court

applied strict scrutiny to the ban under the Equal Protection Clause and concluded that it “violates

equal protection and is unconstitutional.” Id. at 31–32.

        Having “found the challenged statutes violate the Constitution and are unenforceable,” the

Court further found that “issuance of a permanent injunction” is warranted. Id. at 34–35. Thus, the

Court declared unconstitutional and enjoined the Defendants from enforcing the challenged




                                                   2
    3:23-cv-00795-CMC          Date Filed 06/27/23       Entry Number 42-1         Page 5 of 13




portions of S.C. Code Ann. § 2-17-10(21), § 2-17-110(J), and § 8-13-1333(C) to the extent those

portions differ from the rules applicable to legislative caucuses. Id. at 35–37.

                                       LEGAL STANDARD

       Under Section 1988, “[i]n any action or proceeding to enforce a provision of” 42 U.S.C.

§ 1983, “the court, in its discretion, may allow the prevailing party . . . a reasonable attorney’s fee

as part of the costs.” 42 U.S.C. § 1988(b). “[A] plaintiff ‘prevails’ when actual relief on the merits

of his claim materially alters the legal relationship between the parties by modifying the

defendant’s behavior in a way that directly benefits the plaintiff.” Summers v. Adams, No. CA3:08-

2265-CMC, 2010 WL 2179571, at *2 (D.S.C. May 26, 2010) (Currie, J.) (quoting Mercer v. Duke

Univ., 401 F.3d 199, 203 (4th Cir. 2005)). “A fee award under § 1988 is not a sanction or

punishment against a defendant, and a defendant’s good faith defense of an unconstitutional state

law does not disqualify a plaintiff from an award of attorney’s fees.” Condon v. Wilson, No. 2:14-

cv-4010-RMG, 2015 WL 12862712, at *1 (D.S.C. Aug. 10, 2015).

       Thus, “a prevailing plaintiff should ordinarily recover an attorney’s fee unless special

circumstances would render such an award unjust.” Summers, 2010 WL 2179571, at *2 (quoting

Hensley v. Eckerhart, 461 U.S. 424, 429 (1983)). “Courts have universally recognized that the

special circumstances exception is very narrowly limited.” Lefemine v. Wideman, 758 F.3d 551,

555 (4th Cir. 2014) (cleaned up). “Such a rare, special circumstance would be where a ‘plaintiff’s

success is purely technical or de minimus’ or the plaintiff obtained ‘only a Pyrrhic victory.’”

Condon, 2015 WL 12862712, at *1 (quoting Pitrolo v. Cty. of Buncombe, 589 F. App’x 619, 630

(4th Cir. 2014)).




                                                  3
    3:23-cv-00795-CMC          Date Filed 06/27/23      Entry Number 42-1         Page 6 of 13




                                          ARGUMENT

I. The Plaintiff is the prevailing party.

       The Plaintiff is the prevailing party here. The Court granted summary judgment in the

Plaintiff’s favor on all three counts in the complaint. SJ Order 18–32. It issued declaratory relief

in the Plaintiff’s favor. Id. at 35–36. And it issued a permanent injunction prohibiting the

Defendants from enforcing the portions of the unconstitutional statutes identified by the Plaintiff’s

summary judgment motion, to the extent those portions discriminate against the Plaintiff. Id. at 37.

This judgment allows the Plaintiff to engage in its speech unhindered by unconstitutional

regulation or the threat of an enforcement action by the Defendants. Because the Court’s decision

“materially alters the legal relationship between the parties by modifying the defendant’s behavior

in a way that directly benefits the plaintiff,” the Plaintiff is the prevailing party. Summers, 2010

WL 2179571, at *2; see also Hensley, 461 U.S. at 433 (plaintiffs are the prevailing parties “if they

succeed on any significant issue in litigation which achieves some of the benefit the parties sought

in bringing suit”).1 “Having fully prevailed, [the Plaintiff] should therefore be fully compensated

for its legal expenses.” Rum Creek Coal Sales, Inc v. Caperton, 31 F.3d 169, 175 (4th Cir. 1994)

(cleaned up).




1
  The Defendants seem to acknowledge that the Court’s decision materially alters the legal
relationship between the parties, even if they otherwise mischaracterize the decision. See, e.g.,
Seanna Adcox, SC Freedom Caucus Win in Federal Court Escalates Statehouse GOP Schism,
Post & Courier (June 13, 2023), https://tinyurl.com/44jsvu9a (Defendant Caskey stating that the
Court’s decision “blast[s] a hole in our ethics laws,” allows special interest caucuses to “spend
unlimited money,” and lets a single member start a special interest caucus). Putting aside the
Defendants’ willful misreading of the Court’s carefully tailored injunction, the Plaintiff cannot
help but note that the Defendants’ supposed concerns about “holes” in the State’s ethics laws
remain as “disingenuous” as ever: the “holes” for favored caucuses have existed from the start,
and the State for over a decade has left “outside groups free to raise and spend funds to influence
elections with no limits.” SJ Order 23 n.14.

                                                 4
      3:23-cv-00795-CMC        Date Filed 06/27/23       Entry Number 42-1         Page 7 of 13




II.     The Plaintiff seeks reasonable fees and costs.

        A. The Plaintiff’s fee request is based on reasonable hours and rates.

        “In addressing a motion for ‘attorneys fees,’ the ‘court must first determine the lodestar

figure by multiplying the number of reasonable hours expended times a reasonable rate.’”

Summers, 2010 WL 2179571, at *2 (quoting Robinson v. Equifax Info. Servs., LLC, 560 F.3d 235,

243 (4th Cir. 2009)). “In determining the reasonable hours and rate, the court considers the twelve

factors set out in Barber v. Kimbrell’s Inc., 577 F.2d 216, 226 n.28 (4th Cir. 1978).” Id. Those

factors are:

        (1) the time and labor expended; (2) the novelty and difficulty of the questions
        raised; (3) the skill required to properly perform the legal services rendered; (4) the
        attorney’s opportunity costs in pressing the instant litigation; (5) the customary fee
        for like work; (6) the attorney’s expectations at the outset of the litigation; (7) the
        time limitations imposed by the client or circumstances; (8) the amount in
        controversy and the results obtained; (9) the experience, reputation and ability of
        the attorney; (10) the undesirability of the case within the legal community in which
        the suit arose; (11) the nature and length of the professional relationship between
        attorney and client; and (12) attorneys’ fees awards in similar cases.

Robinson, 560 F.3d at 243–44. To the extent relevant,2 these factors support the Plaintiff’s fee

request.

        The first factor is addressed here by the Plaintiff fulfilling the requirement that it “should

submit evidence supporting the hours worked and the rates claimed.” Hensley, 461 U.S. at 433;

see Declaration of Christopher Mills ¶ 5, Ex. 2. The Plaintiff has produced detailed records of the

hours counsel expended on this litigation. To establish the number of hours reasonably expended

on the case, the fee applicant should exercise “billing judgment” in its request. Rum Creek, 31 F.3d

at 175. “[C]ounsel for the prevailing party should make a good-faith effort to exclude from a fee


2
 The sixth “factor is not relevant to the award in this case because contingency multipliers may
not be allowed in statutory fee cases.” Alexander S. By & Through Bowers v. Boyd, 929 F. Supp.
925, 936 n.5 (D.S.C. 1995) (cleaned up), aff’d sub nom., Burnside v. Boyd, 89 F.3d 827 (4th Cir.
1996). The eleventh factor also does not appear to be relevant here.


                                                  5
    3:23-cv-00795-CMC          Date Filed 06/27/23       Entry Number 42-1        Page 8 of 13




request hours that are excessive, redundant, or otherwise unnecessary,” and the reviewing court

should similarly exclude from the “fee calculation hours that were not ‘reasonably expended.’”

Hensley, 461 U.S. at 434. Here, the Plaintiff’s counsel has exercised appropriate billing judgment

so that the claimed time and expenses include only those which were reasonably expended on the

case. Mills Decl. ¶¶ 5, 7. And “trial courts need not, and indeed should not, become green-eyeshade

accountants”: “[t]he essential goal in shifting fees” “is to do rough justice, not to achieve auditing

perfection.” Fox v. Vice, 563 U.S. 826, 838 (2011); id. (“[T]rial courts may take into account their

overall sense of a suit, and may use estimates in calculating and allocating an attorney’s time.”).

       Moreover, the Plaintiff is not seeking fees for the work of Mr. Rubinstein and Mr.

Hamilton, who both appeared pro hac vice in this action and provided litigation direction,

oversight, and input. The Plaintiff litigated this case considerably more efficiently than many

similar constitutional cases are litigated and is requesting fees for a single, in-state lawyer. See

Mills Decl. ¶¶ 8–9; Declaration of Richard S. Dukes, Jr. ¶ 6; compare, e.g., Se. Booksellers Ass’n

v. McMaster, No. 2:02-3747-23, ECF No. 90, at 21–22 (D.S.C. Sept. 8, 2005) (Mills Decl., Ex. 6).

       The fifth factor, the customary fee for such services, favors awarding fees at the rate

requested by the Plaintiff. This determination looks both to the rates paid to comparable attorneys

in similar circumstances and to the attorney’s actual billing rate. Rum Creek, 31 F.3d at 175. A

reasonable fee is based on a reasonable hourly rate commensurate with “the prevailing market

rates in the relevant community.” Blum v. Stenson, 465 U.S. 886, 895 (1984). “The relevant market

for determining the prevailing rate is ordinarily the community in which the court where the action

is prosecuted sits,” though the rates from other communities “may also be considered” when the

counsel practices in other communities. Rum Creek, 31 F.3d at 175.




                                                  6
    3:23-cv-00795-CMC          Date Filed 06/27/23       Entry Number 42-1         Page 9 of 13




       The Plaintiff requests a rate of $410 for Mr. Mills. The Plaintiff has submitted evidence,

including attorney affidavits, “that the requested rate[] [is] in line with those prevailing in the

community for similar services by lawyers of reasonably comparable skill, experience and

reputation.” Blum, 465 U.S. at 895 n.11; see Declaration of Miles Coleman ¶ 5; Dukes Decl. ¶ 5;

accord Gifford v. Horry Cnty. Police Dep’t, No. 4:16-cv-03136-MGL, 2023 WL 2696575, at *9

(D.S.C. Mar. 29, 2023) (finding, based in part on “the Court’s own experience and knowledge of

the market,” that fees of $400–$450 for South Carolina attorneys “are reasonable”).3 Further, this

rate is significantly less than what Mr. Mills charges to, and has been paid by, clients in ordinary

litigation. Mills Decl. ¶ 6. And this rate is drastically lower than the rates commonly charged

nationwide even for attorneys with less experience. See id.; e.g., Hill v. Schilling, No. 3:07-cv-

2020-L, 2022 WL 1321548, at *5 (N.D. Tex. May 3, 2022) (noting that a Winston & Strawn 2013

graduate’s standard rate in 2022 in Dallas was $935 per hour); InterVarsity Christian

Fellowship/USA v. Univ. of Iowa, No. 18-cv-80, ECF No. 101, at 2 n.1 (S.D. Iowa Nov. 18, 2021)

(awarding fees of $759 and $914 for Becket principal attorneys) (available at

https://tinyurl.com/yrzaxrwn); see also Mills Decl. ¶ 3 (noting counsel’s nationwide practice).

       The eighth factor (the results obtained) is easy: the Plaintiff’s “complete litigation victory

has benefitted” itself and other special interest legislative caucuses, and the Plaintiff’s “success in



3
  See also Protham-Sweetnam v. Kijakazi, No. 21-cv-1296-PJG, 2022 WL 17094621, at *1 (D.S.C.
Nov. 21, 2022) (“an hourly rate of $508.14 does not appear to be excessive”); Martins v. Kijakazi,
No. 2:20-cv-03295-MGB, 2022 WL 10609520, at *2 (D.S.C. July 28, 2022) (reflecting an hourly
rate of approximately $795 for Columbia attorney); Back v. Hollywood Wholesale, No. 18-CP-10-
1046, 2018 S.C. C.P. LEXIS 49, at *19 (S.C. Ct. of Common Pleas Sept. 7, 2018) (“I find the fee
of $390.00 per hour to be within the range of fees charged for similar cases.”). In 1995, Judge
Anderson collected many cases in which “[h]ourly rates of $250.00 or more have been approved
and awarded in this district.” Alexander, 929 F. Supp. at 937. $250 in November 1995 dollars is
about $495 in present dollars. See CPI Inflation Calculator, https://www.bls.gov/data/
inflation_calculator.htm; see also Gifford, 2023 WL 2696575, at *10 (relying on the federal
Department of Labor’s inflation calculator).

                                                  7
    3:23-cv-00795-CMC          Date Filed 06/27/23       Entry Number 42-1        Page 10 of 13




this litigation weighs heavily in favor of a reasonable attorney fee award.” Condon, 2015 WL

12862712, at *4.

       The second, third, and ninth factors deal with the difficulty of the questions presented and

the skills necessary to prosecute the case. The constitutional issues involved here were significant

and are matters of heated debate, not only in the courts but elsewhere in the political system. No

precedent appears to have dealt with a legal scheme exactly like that at issue. The issues involved

require a high degree of skill and implicate the Plaintiff’s counsel’s unique qualifications. Mr.

Mills has an extensive background in First Amendment and constitutional litigation. See Mills

Decl. ¶ 2, Ex. 1. “In addition, [the Plaintiff’s] counsel were opposed by equally skillful and well-

prepared attorneys representing defendants.” Alexander, 929 F. Supp. at 936. The Defendants’

discovery demand and challenge to the Plaintiff’s standing necessarily increased the legal research

and briefing required on behalf of the Plaintiff. All these facts support a fee award. Cf. W.S. v.

Daniels, No. 8:16-cv-01032-DCC, 2019 WL 5448374, at *6 (D.S.C. Oct. 24, 2019) (“This case

involved adjudication of constitutional issues and required a higher level of legal skill.”), aff’d in

relevant part, No. 19-2348, 2022 WL 621785 (4th Cir. Mar. 3, 2022).

       The seventh factor is the time limitations imposed by the circumstances. Here, the Plaintiff

sought to litigate this case quickly because it was suffering an ongoing denial of its constitutional

rights of speech, association, and equal protection. Thus, the Plaintiff’s counsel needed to devote

substantial efforts to briefing this case, to the exclusion of other cases and opportunities. See Mills

Decl. ¶ 11. Ultimately, that briefing considerably shortened the case—and reduced the fees that

would be accumulated—by negating the discovery sought by the Defendants.4



4
  The Plaintiff notes that under circuit precedent, the fact “that taxpayers [might] be required
ultimately to pay the fees” is “an improper ground for denying or reducing an attorney’s fee to the



                                                  8
   3:23-cv-00795-CMC           Date Filed 06/27/23        Entry Number 42-1         Page 11 of 13




        On the fourth and tenth factors, related to opportunity costs and undesirability of the case

(and along with the preceding explanation), it is a matter of public record that the Plaintiff has its

share of disagreements with many in power. See, e.g., ECF No. 19, at 7 n.3; ECF No. 29, at 23

n.5. Needless to say, established law firms in South Carolina are not lining up to represent the

Plaintiff on this issue of public controversy. And representing the Plaintiff likely scared away some

of the Plaintiff’s counsel’s potential clients. See Mills Decl. ¶ 10. Plus, “[n]ecessarily, participation

in these court proceedings has denied [the Plaintiff’s] counsel the opportunity to work on other

fee-producing cases.” Alexander, 929 F. Supp. at 936.

        On the twelfth factor, fees in similar cases, the fees requested here are well within the

bounds of reasonableness. Though there are few exact comparators, in Perry v. Bartlett, the Eastern

District of North Carolina awarded $76,731.25 in attorney’s fees for a similar First Amendment

challenge decided without discovery on a motion for summary judgment. No. 2:98-cv-43-BR(2),

ECF No. 62 (E.D.N.C. July 27, 1999) (Mills Decl., Ex. 4); see also id., ECF No. 28 (E.D.N.C.

Sept. 24, 1998) (reflecting that no discovery occurred) (Mills Decl., Ex. 5). In today’s dollars, that

amount is about $139,988. See CPI Inflation Calculator, https://www.bls.gov/data/

inflation_calculator.htm. Other cases also reflect far higher fees in similar constitutional cases.

E.g., Nat’l Black Police Ass’n v. District of Columbia, 168 F.3d 525, 528–31 (D.C. Cir. 1999)

(awarding $619,831.87 in attorneys’ fees for § 1983 challenge against city ordinance establishing

contribution limits to candidates, even though judgment was ultimately vacated on appeal when

the ordinance was repealed); Summers, 2010 WL 2179571, at *1, *3 (awarding request for




prevailing party under 42 U.S.C. § 1988.” Rum Creek, 31 F.3d at 180. And issuing an award against
these Defendants, in their official capacities, would “encourage[] [them] to independently evaluate
their position in litigation, rather than blindly assuming an obligation to defend legislation.”
Summers, 2010 WL 2179571, at *7.


                                                   9
   3:23-cv-00795-CMC          Date Filed 06/27/23      Entry Number 42-1        Page 12 of 13




$178,589.25 for attorney’s fees for merits of Establishment Clause challenge to statute authorizing

“I Believe” license plate); Se. Booksellers Ass’n v. McMaster, No. 2:02-3747-23, ECF No. 90

(D.S.C. Sept. 8, 2005) (Mills Decl., Ex. 6) (awarding $405,485.61 in attorney’s fees for a First

Amendment challenge to a statute criminalizing the dissemination of certain explicit material over

the internet).

        Last, “there is a strong presumption that the lodestar figure is reasonable.” Summers, 2010

WL 2179571, at *2. No apparent reason supports departing from the lodestar figure here. As

discussed, the Plaintiff achieved a complete victory on all three claims. Thus, there is no need to

“subtract fees for hours spent on unsuccessful claims” or award only a “percentage of the

remaining amount, depending on the degree of success.” Hudson v. Pittsylvania Cnty., 774 F.3d

231, 237 (4th Cir. 2014) (cleaned up).

        B. The Plaintiff’s expense request is reasonable.

        “A prevailing plaintiff in a civil rights action is entitled, under § 1988, to recover those

reasonable out-of-pocket expenses incurred by the attorney which are normally charged to a fee-

paying client, in the course of providing legal services.” Summers, 2010 WL 2179571, at *4

(quoting Spell v. McDaniel, 852 F.2d 762, 771 (4th Cir. 1988)). Filing fees, copying costs, and

similar expenses “are recoverable under Section 1988.” Id. at *5. Travel expenses “to appear

before the court” are also recoverable. Id. And “[f]ees for service of process” are both recoverable

under § 1988 and indeed “taxable costs under Fed. R. Civ. P. 54(d) and 28 U.S.C. § 1920.” Id. at

*4 n.6. These categories cover all the expenses requested by the Plaintiff, all of which are

reasonable. See Mills Decl. ¶ 12, Ex. 3. Thus, the Plaintiff should be awarded $1,882.57 in

expenses.




                                                10
   3:23-cv-00795-CMC          Date Filed 06/27/23       Entry Number 42-1       Page 13 of 13




                                         CONCLUSION

       For these reasons, the motion should be granted and the Plaintiff awarded attorney’s fees

of $57,031 and expenses of $1,882.57, for a total of $58,913.57. These figures reflect work through

the preparation of this motion; to the extent that further litigation is necessary on this motion or

otherwise in this case, the Plaintiff requests the opportunity to supplement the hours and costs

accounting as necessary.

                                                     Respectfully submitted,


                                                     /s/ Christopher Mills

 Gene P. Hamilton (pro hac vice)                   Christopher Mills (Fed. Bar No. 13432)
 Reed D. Rubinstein (pro hac vice)                 SPERO LAW LLC
 AMERICA FIRST LEGAL FOUNDATION                    557 East Bay St. #22251
 611 Pennsylvania Ave. S.E. #231                   Charleston, SC 29413
 Washington, DC 20003                              Tel: (843) 606-0640
 Tel: (202) 964-3721                               cmills@spero.law
 reed.rubinstein@aflegal.org


                                       Counsel for Plaintiff

June 27, 2023




                                                11
